                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       STATESVILLE DIVISION

UNITED STATES OF AMERICA

       V.                                               CASE NUMBER:         5:02CR4
                                                                             5:03CR7

Samuel Clint Blancher


       THIS MATTER is before the Court sua sponte.

       NOW, THEREFORE, IT IS ORDERED that:

The Bureau of Prisons and the United States Marshalls service is hereby ORDERED to

transport and produce the body of Defendant, Samuel Clint Blancher (USM#17764-

058), for a hearing before the Honorable Max O. Cogburn, Jr., in the Western District of

North Carolina, Charlotte not later than December 29, 2022, and upon completion of the

hearing, Defendant is to be returned to the custody of the Bureau of Prisons.

       The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States

Probation office.

       IT IS SO ORDERED.




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